
78 N.Y.2d 978 (1991)
George Terry, Respondent,
v.
Young Men's Hebrew Association of Washington Heights, Inc., Appellant and Third-Party Plaintiff-Respondent. Careful Cleaning Contractors, Third-Party Defendant-Appellant.
Court of Appeals of the State of New York.
Decided September 10, 1991.
Michael H. Bernstein and Joan A. Berk for appellant.
Andrew Sapon for third-party defendant-appellant.
Steven J. Seiden for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE, HANCOCK, JR., and BELLACOSA.
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), order affirmed, with costs. Certified question answered in the affirmative. Appellants' principal argument, that Labor Law § 202 preempts the strict liability provisions of Labor Law § 240 (1), is unpreserved for this Court's review, and therefore we do not pass on it. Appellants' remaining argument, that issues of fact exist precluding summary judgment, is without merit.
